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   NATIONAL MERCHANT CENTER
   2955 E MAIN STE 100
   IRVINE, CA 926124




      YOUR CARD PROCESSING STATEMENT
                                                                                  Page 1 of 5         THIS IS NOT A BILL
       026567/000001/863669/STMT/26567/0000/162080 000 01 000000                  Statement Period    09/01/19 - 09/30/19
       KENNY                                                                      Merchant Number     5101         6085
       TAS 2019 LLC                                                               Customer Service    800-662-8448
       30 N GOULD ST STE R
       SHERIDAN WY 82801-6317
                                                                                  Chain Code 06119
                                                                                  Location:
                                                                                       TRUSTED ACCOUNT SERVICES MAINT

                                                                                       NORTH TUSTIN CA 92705




   SUMMARY            An overview of account activity for the statement period.


   Page     4        Amounts Submitted                                                  0.00
   Page     4        Third Party Transactions                                           0.00
   Page     4        Adjustments/Chargebacks                                            0.00
   Page     4
                     Fees Charged                                                       0.00
   Total Amount Funded to Your Bank                                                    0.00
   See page 2 for Key Definition of Terms

  (Amount Submitted - Third Party) + Adjustments + Chargebacks + Fees Charged = Amount Funded




    IMPORTANT INFORMATION ABOUT YOUR ACCOUNT
     !ATTENTION!
     EFFECTIVE NOVEMBER 2019, THE STAR MERCHANT LOCATION FEE WILL INCREASE FROM $12.00 TO $16.00. AS A
     RESULT OF THIS FEE AND OUR OWN PRICING CONSIDERATION, YOU WILL BE ASSESSED A STAR ANNUAL FEE IN
     THE AMOUNT OF $18.00. THIS FEE IS ASSESSED PER PARTICIPATING LOCATION OR WEBSITE THAT IS ENABLED
     WITH AND/OR ACCEPTS STAR TRANSACTIONS AND COVERS AN ANNUAL PERIOD BEGINNING JUNE 1 OF EACH
     YEAR. THIS FEE WILL APPEAR ON YOUR NOVEMBER MONTH-END STATEMENT. CONTINUING YOUR MERCHANT
     ACCOUNT WITH US OR USE OF YOUR MERCHANT ACCOUNT AFTER THE EFFECTIVE DATE WILL CONSTITUTE
     YOUR ACCEPTANCE TO THESE TERMS.




2955 E MAIN STE 100, IRVINE, CA 926124



                                                                                                           nnnnnn 01 05 026567 162080R


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 From:             Jimmy Lai
 To:               Tom Nguyen
 Subject:          FW: Trusted Account Services Merchant Statements for September 2019
 Date:             Monday, October 07, 2019 2:16:41 PM
 Attachments:      Trusted Account Services Maint Sept 2019 MID 51015901106085.pdf
                   Trusted Account Services West Sept 2019 MID 510159011106549.pdf
                   Trusted Account Services Sept 2019 MID 510159011106333.pdf
                   Trusted Account Services East Sept 2019 MID 510159011106481.pdf


 See attached for NMC version of merchant stmts


 From: John F. Thompson <jfthompson@NationalMerchant.com>
 Sent: Monday, October 7, 2019 2:09 PM
 To: Jimmy Lai <jimmy.lai@swiftpaymentsinc.com>
 Cc: Jimmy Lai <jimmy.lai@nationalmerchant.com>
 Subject: Trusted Account Services Merchant Statements for September 2019

 Trusted Account Services Merchant Statements for September 2019




           John Thompson
             Associate Director of
             Risk & Underwriting



 office: 949. 419. 8400 x 1110                    The information contained in this transmission may contain privileged
 toll      800. 662. 8448                         and confidential information. It is intended only for the use of the
 free:     949. 861. 6201                         addressee. If the person actually receiving this communication or any
                                                  other reader of the communication is not the named recipient, or the
           jfthompson@nationalmerchant.com
                                                  employee or agent responsible to deliver it to the recipient, any use,
 fax:                                             dissemination, distribution or copying of this communication is strictly
 email:                                           prohibited. If you have received this communication in error, please
                                                  immediately notify us by return e-mail, and destroy this communication
                                                  and all copies thereof, including all attachments.
                                                  Go Green! Please, consider the environment before printing this
                                                  email.




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  PSLC-315038540
  Here's an example of a guy who already did the work and had already enrolled himself into a REPAVE at
  $0.00 with 11-month credit to his term length


  This typically results in:
  1. Full Refund (lost all the money paid out towards labor, commissions (processor and SLA},
  2. Lost time and energy of our SLA, Processor and CSR reps on outbound and inbound calls,
  3. Lost time of our billing department (Issuing refunds} (maybe having to issue checks} (chargebacks}
  4. Potential for complaints with BBB, FTC, word of mouth
  5. Potential for management involvement because the client feels he was misled to believe he was going
  into an entirely separate program


  Or instead we catch it up front explain what's going on properly and let him know we'd be happy to do
  the re certification for him so he doesn't have to worry about it and if there are any new programs or
  better options we would reach out to him. We can charge him $42.00 monthly for recertification and
  peace of mind knowing he's with a company that let him know what's going on and that he can trust.


 This could result in:
 1. Long term Happy Client
 2. Decreased efforts and labor costs for all departments
 3. Word of mouth referrals
 4. Potential for positive reviews


 I am certain this has been discussed previously and I'm not trying to reinvent the wheel here however I
 wanted to address selling "Refi'd IDR" or "Re-Calculated IDR" as a discounted option for clients that
 come in already enrolled into an Income Driven Repayment.


 These clients are getting sold the same way as clients that have 10+ trade lines that need to be manually
 consolidated and enrolled into a PSLF.
 That is quite a bit more work and of course for the client we are really doing very little. When a client is
 sold on consolidation of their loans and enrollment into a loan forgiveness program and they realize all
 we did is what they did before, but we charged them almost $1,300.00 to do it, they immediately feel
 scammed.




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  If enrollment Agents can see on the front end that a client is already in a REPAVE paying $50.00 a month
  we can still sell them on lowering their monthly payment and processing of paperwork but to set their
  expectations out of the ballpark just equates to more time wasted, refunds, and disappointment as well
  as increasing disgruntled clients that will believe that we were trying to SCAM them.



  Why not sell a Refinanced IDR for a fraction of the cost and potentially keep the client?



  Consolidation and enrollment is $1245.00 ($249.00(5)

  Refinance of IDR is $498.00($249.00(2} + RECERT or $747.00(249.(3} +RECERT



  Enrolled Oebts



                                                                                                            Cummt             \Vho!ae Oebt      Curn,ot Faymo,111   u~w P,1ymt,nt   Type

   DIRECT CONSOLIDATED UNSUBSIDIZED                                                             ,           $14,463.00         Applicant        SO.OD               $0.00           Student Loan   01114/2019   D
   DEPT Of ED/NELNET
     OlRECT COHSOLlDATED U:~SUGSID!ZED SCHOOL CODE FOR COMSOUOATION LOAIIS 06 UIC/2016 IN RE?AYM8ITFOST-RB.'ISED ?AY AS YOU EA.f.~I ALTER/J..<..TI\IE ?LAtl


   DIRECT CONSOLIDATED SUBSIDIZED                                                                           $19,658.00         Applicant        SO.OD               SO.DO           Student loan   01114/2019   Cl
   DEPT OF ED/NELNET
     DrRECT COHSOLIDATED SUB'21DIZEO SCHOOL CODE FOR OJ/ ISOUDATIOll LOAl1S Oii:Ve,2.,)HI 111 REPAYI/BIT POST-RE'JJSED FAY AS YOU EA.=?.1{ ALTERlt.;TNS PLAN




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From:                              Tom Nguyen <tom@slaccountmgmt.com>
Sent:                              Tuesday, April 16, 2019 10:00 PM
To:                                Joseph Boylan; Calvin Ho; Advisor; Kaine Wen
Subject:                           Sales Call Audit
Attachments:                       sales call audit.xlsx


Hello Joseph,

Please relisten to the calls I highlighted in red. All fake FS. Please let me know if I made a mistake in any of them.
However I am pretty thorough in listening for the FS. I did my audit by listening to clients that has a FS of 4 or higher.
These clients were enrolled on 4/15/19.
Only 4 passed for FS out of the 10 I listened to. So 6 failed. Please write up the salesman, and let them know this can't
be happening moving forward. See my notes and let me know if you have any questions. Please think of a plan where
this wont occur at such a high rate moving forward also. Thank you.


Regards,

Tom




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.. Commfoefon Pem::n.1::2.2:e. ---··------·--··- ··-··-··                             Tntal Saks .........._.·-·---·-··-··-·-·-··· ·-···- ····-·····-···· ·······-···-·· ·····-··--······-··· ..
'         18.0%               ·      $1245 Enrollment FEE )'. 18% =                 $,224 Per Deal/ 5 Payments = $45 Per Payment


      M()nth #1                                                                               7.. First Pays_ c::!e,me,d)<.$45            Per Pc:iyment.                                              $315,QO   .                         $1,323.00... ,
      Month_#2                                                                         J     Jlstl_+7 (2.riclJ. = 14K.$4.5 Per P_ayment_ .. : ..                                                      $630.00 ..... ___________ $2,646_00_ _(
      tv\onth :fj 3                                                                7 (1st)   + 7 J2ndJ:J- 7(3r.dL =.21_ )( $4,5 per Payrne,nt, :
      Month        #..4                                                  7 /lsi) + 7(2nd)_-:t-ZJ3rdJ.±7 (4thl.:=.2l3X$4,5fe,r_f:ayrn_E,H1L , ... __ . . .$1.260.00                                                             ··- -·-· $;),292.00 _i
      tv\onth # ,5 ... --·---···-                           7 (1st)+ 7 (2nd)+ 7 (3rd) +](4tl1) +Jf5thL=:= ~5.X$45 Per.payment .                                     i                ..... lL,57..5,00              -·-·- ________ $6,61_5.00. i


                                                                                                                                                                                                                                ...... $19 ,~45,C>C>


    «::ol11llllll!lll~~!o.,lllJ'ei:ce:nt~ge
                     20.0%                       $1245 Enrollment FEe X 20% = $249 Per Deal/ 5 Payments= $50 Per Payment


:     Mo_nth:#.L
     _Mgnth        :J.t2. .                                                7 firs1 Pays + 7 Se,conc:l P.qys = J 4)<_J59 fer Payrner:it .                                                 ..,... _. $Z.OOpQ      .       ... ······ . ......$2.1 ?:40.00 ....... i
      M<:mJb       4t.} ..                                                         7 (1st)   + 7 (2nd} + 7(3rdJ=21 X $50 Per Payrnent                                               ··-··· $1,050.00 .. i_____________ $4,410.00_)
       Mor_1thJ/:4                                                       7 (lsi) + 7(2nclL+.:Z.(~rg)+Z(4.tbJ:==_2§)(_$5QP_erPc:zy:rnent _·                                      ......$1,400.QO.                                     . _ $_5,.~§Q,QP___ j
       Month# 5                                             z (1st) + 7 (2nd) + 7 (3rd)+ 7 f4tl1J+]/5th) = 35 )( $50 PerPayrnent                                                            __ $J ,?50.00                             ___$1)50.00 . . .


                                                                                                                                                              -·--······-·····-··   --   .. -·· ---------

    .Cml!1mfasfon~ PeFceilll.~<':C •..
                  22.0%


       Month #1.                                                                              7Jirst Pays CIE3are,d )(            $55     p_e_r Pay1T1erit                                            $385.00                 .......... _$JAJ 7 ,QQ           .'
       Month#= _2                                                          7 Firs 1 Pays + 7 Second. eavs = J4 )( $55 Per Payment.                                                                    $770.00                    . ......J:3,l34,QO .. .
       Month_# 3                                                                   7 (1st) + 7_ (2nd)_+ 7 (3rd) = 21 X $55 Per Paymer;it                                                         $1,155,()0                     ...... _$.4,8§J,OQ .. .
       Month#4..                                                         7 [1 si) + 7 [2nd) + 7 (3rd)_+ 7 (4thL== 28 X $55 Per Payment ..                                            .......... $1,540,00                             ... $6,468,0Q
     . Month#_5                                           .. 7: (1st)   + 7 (2nd) + 7 (3rd)    -i: 7J4th)+]/5th) = 35 >< $55 Per Pavm?Dt                                                       .. $1,925.00                               $8,Q85.Q_Q_


                                                                                                                                                                                                                                   ___ $24,255.00 .




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    SAME DAYS & ENROLLMENTS
i




    A same day a day keeps the cancels away so .
    slay those same days !!!!!


       fact if you get a same day and proof of income at the end of call, processing
       can start on the file right away, that way if the client goes cancel and we have
       already begun the work there is less of a chance of the client receiving a·
       refund. This is called "Work Rendered."




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                           Same Day Pitch

        •   SD Pitch #1:                           • SD Pitch #2:

        -   Since we are dealing with interest
            rates and loan amounts your first
            payment will be scheduled for
                                                   -    Since we are enrolling you into the
                                                        program today£ obviously the
                                                        system will be setting your first
            today so we can lock in your rate
            and begin processing your file. The
            Government is very strict with this.
            We must receive your first payment
                                                   ..   payment for today.       ·
                                                        Next month we can select any date
                                                        that falls within 30 days from today,
            before they will start processing           which date works best for you next
                                                        month?                           --

  ...   -
            anything.
            Now next month we can select any
            day of the month you would like
            Which day NEXT month works best
                                                   -    Ok great, just confirming one more
                                                        time your first payment of $249/$207
                                                        will be drafted today.
            for you?

        -   Ok great, just confirming one more
            time your first payment of $249/$207
            will be drafted today.       ·




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What 12. Say:
~ Ask   questions to uncover "PAIN POINTS"
    >~'How much is Navient asking for on a monthly basis? Can you reasonably afford that
   /payment?"
    > How have these loan affected your credit? '

>Identify Client's WHY and offer SOLUTION
   >Huge Payments? Target pitch on LOW, AFFORDABLE payments
   >Huge Debt she'll never get out of? Target pitch on the MAXIMUM amount of
   FORGIVENESS
   > In default and trying to restore credit? Target pitch on getting credit score back on
   track
   >PEACE OF MIND - "You're in the right place". We fight to get the maximum benefit
   awarded under federal guidelines

KNOW YOUR AUDIENCE - ONLY solve the problems that matter/exist to client




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    Enrollment Fees


    •$1,245 - $9,000+ in loans required ($5,000 if
      defaulted)


    •$1,395 - $25,000+ in loans required


   •$1,545 - $50,000+ in loans required




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                      $1,245 Enrollment Fee
                      Rep's Revenue




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                        $1,395 Enrollment Fee
                        Rep's Revenue




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                       $1,545 Enrollment Fee
                       Rep's Revenue




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 If you are at 18% and you follow this simple key each week you
 will always excee·d your hourly wages and receive~ your
         • •
 comrruss1on.
$1,245 Enrollment at 18%          $1 .395 Enrollment at 18%        $1,545 Enrollment at 18%
 1)t'ull pay 1145 = $206.10       l Full pay 1295 = $233. l 0      1 full pay 1445 = $206. 10
_A Two pay=          $112.05      1 Two pay =       $125.50        1 two pay=        $139.05
 l Three pay =      $74.70        l Three pay = $83.70             1 three pay =     $92.70
 l · Four pay =     $56 .03       1 Four pay =      $62.78         l Four pay .:..   $69 .53
 6 F e pay=         $268.92       6 Five pay=      $301.32         6 Five pay =      $333.72

                  . . r$t{l)§_Q   tofaf.:                          Tof'<pf(~-:> . $89sCJp


  * One full pay each week will make up for two cancels and will still give you
  commission
  * One Two pay each week will make up for one cancel and will still give you
  commission




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    If you are at 20% and you follow this simple key each week you will always exceed your
    hourly wages and receive, your commission.



    S1 ,245·' Enrollment at 20%        $1 .395 Enrollment at 20%       $1,545 Enrollment at 20%
     l FuJ(pay 1145 = $ 229 .60        1 Full payl 245 = $259.00       1 full pay 1445 = $289 .00
     1 JWo pay=      · $ 124.50        1 Two pay=        $139 .50      1 two pay =       $154.50
    )/Three pay =      $ 83.00         1 Three pay =     $ 93.00       l three pay =     $103.00
f   1 Four pay =       $ 62.25         l Four pay=       $ 69.75       1 Four pay=       $77.30
    6 F7pay=           $ 298.80        6 Five pay =      $ 334.80      6 Five pay=      $370.80

    TotctII-_}f:f ,:· :   $797{55




      * One full pay each week will make up for two cancels and will still give you
      comm1ss1on
      * One Two pay each week will make up for one cancel and will still give you
      commission




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   If you are at 22% and you follow this simple key each week you will always exceed
   your hourly wages and receive" your commission.


S1,245,. Enrollment at 22% S1 .395 Enrollment at 22%              S1 ,545 Enrollment at 22%
  l Ful_Lpay 1145 =   $ 251.90    1 Full payl 245 = $284.90       l full pay 1445 = $317.90
 1 Tyvo pay=           $ 136.95   1 Two pay=        $153.45       l two pay=        $169 .95
 1/Three pay =        $ 91 .30    1 Three pay =     $ 102.30      1 three pay =     $1 13.30
;'i Four pay =        $ 63.48     1 Four pay =      $ 76.73       l Four pay =      $84.98
 6 Five pay=          $ 328.68    6 Five pay=       $ 334.80      6 Five pay=      $407.88
   /
Totcil >it·       . >!$872}31.


  * One full pay each week will make up for two cancels and will still give you
  commission
  * One Two pay each week will make up for one cancel and will still give you
  commission




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    The Goal: To make the ·weekly
  . commission EXCEED your hourly
        12.00 x 40hrs = $480.00

    •   To achieve this goal you want to make sure that you schedule payments on the
        same day each month
    •    Keep track of all payments on your commission tracker
    •    One Full pay a week
    •   Submit one same day daily
    •    Be top 15 on the leader board




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 __..:'_   ·._         .· .           ..   .       .-           -       .


                           DER.BOARD                                                 )




                                                                                          22 % commission - Ranking 1-15 (Top Reps)
                                                                                          20 % commission - Ranking 16-40
                                                                                          18 % commission - Ranking 41- and bellow




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                                       Flnandal Preparation
                                                         Services
                                     FPS Pay Structure and Bonuses:

         1. 5 Submissions = $50.00
                 a.   Files must be created AND approved the same day (5 payment plan)
         2. Employee referrals= $300.00
                 a.   Received after referral's 30th day of employment
                 b. No limit on number ofreferrals
         3.   10 Deals in a Day = $300.00
                 a.   Files must be created AND approved in the same day (5 payment plan)

         4. Monthly Bonus
               a. Most net doc prep payments in a calendar month (point system)

1st= $1,000, 2nd= $750, 3rd= $750, 4th= $500, 5th= $500, 61h = $400, 7th= $400, gth = $350, 9th= $350

Pay Raise:

         Raise= $125 per deal, plus recertification fee (either $22/$32/$42, depending on loan type/size)
         moving forward
         To qualify: must have 80 net cleared in a consecutive two-month period (8 weeks)

Quota:
Minimum of 10 cleared each week
Minimum of 10 scheduled for the following week


Submissions vs. Cleared
Submission - The application from the client has been completed and filled out.
         Ex: Personal information such as date of birth, address, phone number, and credit card info. In
         addition, the client has signed all documents and has agreed to the compliance call.
Cleared - First payment has been made and cleared. The submission is now considered cleared.
         Ex: You submitted the application on Monday the 11th, and the 1st payment is scheduled for
         Wednesday the 13th. The submission turns into a cleared deal on Wednesday the 13th once
         payment has cleared.




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                                                                                             PA Y STRUCTURE & BONUS
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                                                                                                                                1700
Additional Bonus specialist can ~am each week added to their paycheck
                                                                             iI                                      I'
Full pop cleared payment= $10~.00                                                                                    ·
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5 Enrollments in a day= $75.ool
                                                                              '

3 Enrollments in a day= $25.00j
                                                                             ;


2 Enrollments in a day= $15.ooj
                                                                             I                                       I
   1. Company fee: Initial Fee ofl$1,705, and $41 for Repert Fee, Specialists can only split the
      payments to 7 or 8 paymen,ts once a day. Ultron wiill check and kick back the file if it catches
                                  I                     .
      Specialists who attempted econd Enrollment wit~ 7 or 8 payments.      1
                                                                             II                                      :,
                      **NO BACKOUr'sn      **NO CHARGEBACKS** **KEEP YOUR MONEY**
                                        !

                     (Even if client cantels and refunds will not be reversed commission)
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                                     Bonus Incentives
Quarterly Raffle!




MacBook Air

Air Pods

Xbox One

PlayStation 4

Portable Speakers

Movie Tickets



**Suggestions for Prizes Welcome**




How to earn raffle tickets:
• Top 5 Highest Daily Inbound Connection Rate= 1 Ticket
• Top 3 Highest Monthly Talk Times= 1 Ticket
• Top 3 Highest Monthly Calls= 1Ticket
• Top 3 Highest Monthly Connection= 1 Ticket
• Perfect Weekly Attendance, No Late Days= 5 Tickets




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For payroll period of 10/1?/2019 -10/19/2019 and moving forward until further notice, Student Loan
Specialist will have the following pay structure:

 0-1 Enrollment: Minimum wage of $12

 2-4 Enrollments: $15/hour

More than 5 enrollments:·Subsidized Pay.

 This Pay model will NOT be based on the hours they worked.

 Example 1, Specialist A does not go to work for the whole week on the above week, and has 0
 Enrollment. That specialist A will get pay $12/hour

 Example 2, Specialist B worked 12 hours, and had 4 enrollments on the above week. Specialist B will get
 pay $15/hour Example 3,

 Specialist C worked 30 hours, and had 6 enrollments on the above week. Specialist C will get Subsidized
 Pay.

 SSP Team Manager's Pay'Structure:

 Team Managers will be guaranteed $34.85 an hour. ($34.85x however many hours they work for the
 week= total gross pay.) unless they are able to achieve the incentive based model pay structure.

 In order for a Team Managers to receive their incentive based pay, all student loan specialists on their
 team must also have received their incentive based model pay. If a manager is able to have ALL student
 loan specialists achieve their incentive based pay then they will also receive their current average
 incentive based hourly rate.

 Please review and let me know if you have any questions for this week. For the next pay period,
 Management will decide on this before the next pay period starts.



    e   All specialists are set at 12 billable calls in order to receive more must have at least 1 submitted
    •   Minimum standards will be enforced this week - 1 submitted p~r day or write up will be issued
    •   Specialist need to trust the process and pull servicer logins after getting References




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                                                                             Date: _ _ _ _ _ __

                                                   Sales Advisor (print):
                                                                            ----------


        (If applicable)
        How long does advisor have to achieve or exceed the r~quirements?


        Correction period _ / _ _ - _ _/ _/2019




~Failure to reach minimum sales requirements two weeks in a
·ow is grounds for disciplinary action, up to and i~cluding
:ermination.




        By signing this form, you confirm that you have discussed this review in detail with your-
        supervisor.



 Employee Signature

 Manager's Name

 Manager Signature




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                                                              Date: _ _ _ _ __

                                       Sales Advisor ( p r i n t ) : - - - - - - - - - -




  Last week, minimum sales requirements met?                       YES or NO
  If No, Explain. Note any additional training/support provided:




  Sales Requirements This Week:                          Met/ Exceeded?

  $600+ Revenue?                                                   YES or NO

  20%+ Closing    Rado?                                            YES   or NO
  10 Deals scheduled this week and next week?                      YES or NO

  3 Same Day Pays.per week?                                        YES or NO

  2+ Deals submitted every day?                                     YES or NO

  60% Retention Rate?                                               YES or NO

  25 Hrs+ Talk Time                                                 YES or NO

  Circle One:

  Under Req's                Meeting Req's                 Exceeding Req's
  Substandard performance previously addressed w/ Manager?

  When and how?




  Which requirement.(s) is advisor failing to achieve and why? (or exceeding)




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 Isabel Banda

 Subject:                              FW: Name Change Reminder



 From: Isabel Banda <hr@slaccountmgmt.com>
 Sent: Wednesday, February 6, 2019 4:16 PM
 Subject: Name Change Reminder

 Hello Team,
 As you all know we have had our company name change in the past. Our focus is on being a third party
 customer service department that takes care of customer support for SL Account Management, Premier
 Student Loan Center, Financial Preparation Services, Financial Loan Advisors, and Tangible Saving
 Solutions.


 Please continue to answer the phone as customer support/ customer service. You SHOULD NOT say that we
 had a name change or that we are any of those other companies. We are simply the customer service
 department that supports their clients.


 Script:
 "We,arerai;thircl. ·party e.ustor,ner.serw:ice'. d'epa1trnentith:a:lr:ifakes•0are;:0fc&st&mer:s:wppqlff;Joiz.mc:1n;y;diff§rent .
                                                                                                           ...   .   ,   ·,.   ·r   ·.·.   ·.:·, , ; ..



 ©:l\};mp:ar.l'.i:e.s; • brJ0.0ks:\Jik~~you·.·faa.vebeenw0rking·}Nit.h· (insert appropriate company name here: SL Account
 Management, Premier Student Loan Center, Financial Preparation Services, Financial Loan Advisors, and
. Tangible Saving Solutions)."


 If you are unclear or if you have any questions please let us know.


Thank you,

Isabel Banda
Human Resources
SL Account Management
Direct/Office: (949) 201-2454
Fax: (877) 809-6005




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                                              Retention Policies
          Cancel: Can't Retain
          Refund Rules:

            1. If client hasn't sent in appropriate documents to start process= FULL REFUND
            2. If Final Pay has not been approved= FULL REFUND
            3. If there are only three payments or less and client is extremely insistent and irritated (even
               if Final Pay has been approved}= FULL REFUND
.P/rNt l.f. 4. FS issues; threatening to file complaints (BBB, FTC, CFPB, Attorney General, Local PD}
      U,.O ){ anywhere MUST BE SENT TO MANAGEMENT= Management will discuss FULL REFUND. If
  $?(,W-/      the client does not mention FS DO NOT BRING IT UP!!
               If client has 1 Year's Worth of Payments on File and Final Pay was completed client is at
               Recert stage
                    • Step 1: Cancel NO REFUND (Put client on hold to "get permission" for 60 seconds}
                  •     Step 2: Client insists on refund and recertification has not yet processed= REFUND
                        ALL RECERT FEES ONLY (Put client on hold to "get permission" for 60 seconds}
                        Step 3: If client is insistent on a further refund work through adding 1 enrollment
                        payment at a time for each negotiation past the recert pavments. We will not give
                        back more than 3 enrollment payments.



          Cancel: Can Retain
          Perks Offered Rules:

          1. Client has already made 3+ enrollment payments. Client is aware money does not go
             toward Student Loan Balance. Offer to waive the most recently missed payment and
             resume payments. If that is not enough negotiate waiving the next enrollment fee (total of
             2 fees waived now}. Can include a total of 3 enrollment fees waived if a 6 pay. Recert
             payment must be scheduled within 60 calendar days of last cleared payment to prevent file
             cancellation.
          2. Client has completed enrollment fees. Possibly did resubmission on their own. If client is
             retained offer to waive the next 12 months of recertification fees. If this is not enough
             request approval with upper management to see what else could be done for the client.
          3. Offer the option to resubmit the IDR/RPR and waive next year's recert fees if there are
             other discrepancies outside of FS.

          ** At the end of every retention call stress to the client that if they cannot get ahold of anyone
          else that you can be the direct line of communication for the client**

          As needed CREATE TASKS for follow up within timeframe client requests. Utilize tasks and
          calendar features in OPP.


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RETENTION Protocol 02/19/19
Do this every day to retain your clients and make more                      $$$

During the FIRST 30 and LAST 30 minutes of your shift EVERYDAY work on your
RETENTION using the following lists from OPP:
   1) 1+ Pay Declined
   2) 0 Pay Declined
   3) Upcoming payments


1+ PAY DECLINED: Go to OPP - click on the drop-down menu beneath My Contacts -
select "1+ Declined"

   •   Sort by date
   •   Determine how many 1+ pay clients you have that have declined for the week
   •   Call/ email/ SMS each one of them 2x DAILY AND RESCHEDULE THEIR PAYMENT



O+ PAY DECLINED: Go to OPP - click on the drop-down menu beneath My Contacts -
select "O+ Declined"

   •   Sort by date                                 ..
   •   Determine how many O pay clients you have that have declined for the week
   •   Call/ email/ SMS each one of them 2x DAILY AND RESCHEDULE THEIR PAYMENT



UPCOMING PAYMENTS for the week: Go to OPP - click on the drop-down menu
beneath My Contacts - select "Upcoming Payments"

   •   Sort by date
   •   Determine how many upcoming payments you have for the remaining of the week
   •   Send PAYMENT REMINDER thru SMS to each client lx daily- rave client call if need to




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                       Customer Services Disposition Codes
   1. fees were not disclosed to me
      -Enrollment and re-certification fees were not properly explained to the client, this
      could mean they were not told these fees were going to our company for document
      preparation services.
   2. Client does not qualify due to income
      -Client's AGI {Adjusted gross income) came out much higher than what was discussed
      initially. In this case a client would qualify for a payment they will not be able to afford.
   3. Program not explained correctly/ loan forgiveness was immediate
      Client assumes that their loan balance will decrease immediately after our services have
      been rendered. Clients must complete their forgiveness term before their loans are
      qualified for forgiveness.
   4. Spoke with servicer and reconsidered
      The client, for whatever reason called their servicer and the servicer informed the client
      that we are not doing anything for them or tEill them we are charging them for
      something they can do on their own. Client becomes hesitant to move forward \'\tith our
      services.
   5. Unable to get a hold of my loan advisor or processor
      (!it)nts who repeatedly call their advisor and processor, eventually get to the polnt
      where they become hesitant to move forward with our services. Their questions wc::.rr::
      never answered by the individuals they were trying to get a hold of.
   6. Scam
      Client did their own research online and cam,2 to the conclusion that we could possibly
      be a scam.
   7. Payments did not go towards my student loan payments
      Clients were not made aware that our enrollment and re-cert fees go to our company.
      Not to their student loan balance.
   8. Attempting to do it on my own for free
      Client is aware that they can file the program paper work on their own and is going to
      attempt to complete the necessary paper work on their own.
   9. Errors on my application
      Mistakes were made on the client's paper work and the client found out. The client will
      most likely be upset.
   10.0ther (CS rep must add reason in the Cancellation Notes)
      When choosing this disposition a client can be cancelling due to some other rE:asons .
      not listed in the cancellation dispositions. Please list the reason they are cancelling.
   11.Carmot Afford (Ultron & CS)
      A client can not afford our enrollment payments and is forced to cancel.




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   12.Negative impact on credit score
       After using our services a client's credit score is effected for whatever reason.
   13.Loan Originated Status
       When a client's loans are in a "Loan originated status" those clients loans would not
       qualify for any programs until their loans are out of loan origination. Client's loans must
       either be in a grace period or in a repayment status.
   14.Still in school
       A client's loans can not placed into a forgiveness program until they graduate and their
       loans are out of a "loan originated status".
   15.Client left complaint BBB
       Client filed a complaint with BBB and is requesting for a resolution to their complaint.
       The BBB mediates a clients complaint.
   16.Client left complaint with CFPB
       Client filed a complaint with the CFPB and is requesting a resolution to their complaint.
       The CFPB mediates a clients complaints.
   17.No POI after 30 days (Ultron}
       After 30 days of receiving no POI (proof of income) a client's account will automatically
       be cancelled.
   18.No Welcome after 30 days (Ultron)
       After 30 days if a client is not answering and or returning our calls to complete the
       welcome call. The client's account will be automatically cancelled.
   19.0 Pay Client (Ultron)
       A client's account will eventually be cancelled out if they do not make a payment.
       Within one week of a client's payment declining.
   20.Client filed a chargeback
       A client called their bank and filed a dispute on our companies charges. Client received
       the money back from their bank.




       *If CS or Processing field call with angry client please specify in the Cancellation Notes




Employee Name (print)                 Employee Name (sign)                   Date




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                                         Reverify Campaign Scripting
                                               INTRODUCTION
 Hi Mr./Mrs. ____-this is_-..:Yc..::O:...:U::;..:R..:;...;;..;;
                                                         N.:..;A:.:.:M=E=----with Student Loan Management calling
 on behalf of COMPANY NAME . I am calling you today on a recorded line to ensure the
 accuracy of all details on your account. We are contacting all our existing clients to complete a
 routine follow up as part of our newly required compliance policies and procedures.
 [Copy and Paste Phone # into Debt Pay Pro for Client Search and Selection]
 If NOT Able to Complete: Click NOT COMPLETED
                                        INFORMATION GATHERING
 To Caller: "Can you please verify your contact information for your security?"
 Verify Proper Spelling of First Name, Last Name and Verify Clients D.O.B. and last 4 of their
 social
 To Caller: "I am showing we have your first name spelled as_-_-_-_·...:. and your last name
 spelled as_-_-_-_-_. And for your security I am showing your Date of Birth listed as_----·
 Lastly, I have the last 4 of your social listed as. ls that all correct?
 [Begin Review of Dept Pay Pro Existing Notes Section for most recent corresponding
 Information: Servicer Name;# of Children;# of Dependents; Repayment Plan; Filing Status]
 "Okay, now I am going to send you a link which will include all of the documents prepared by
 our compliance department as part of our latest policies to ensure your account is up to date
 and accurate with all of the correct information. What is the best way to send out the
 documents to you for you to sign, by email or SMS to your phone?"
 [Verify best method to send via SMS or Email and ensure Cell Phone Field is ALWAYS filled out
 correctly in Debt Pay Pro. Confirm email if email Send Out ]
 "Please open the Package Sent to you and click on Click Here� You can then click on 'Get
 Started' and click on the 'Click to Sign' button to fill out your signature. Please select 'INSERT'
 to be able to sign, initial and review each page. Once you have completed signing click
 'Continue' and then 'I Agree' and I will receive the signed copy of the documents for you file
 so we can complete the call.''


                                                DISCREPANCY
 IF NO: Complete and ClickREVERIFIEt> Disposition in Caller Ready
 [Prepare for Next Call]




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  IF YES: "I do apologize it looks like there are some discrepancies on your account, please
  allow me to send you another link so we can update your information in our systems. Please
  bear with me while I send you the link."

  [Enter in Client ID and select send out method via SMS/Email in Reverification Create Form
  https ://p rocessingsupports. com/ReVerification/ Create]

  "After I collect your accurate details, I will set up a follow up call with one of our account
  managers to go over the discrepancies and discuss what makes the most sense moving
  forward."

  "Please copy and paste the link into your browser to access the Form to enter in your
  accurate details. Once you have the form open you can click 'Next' to be taken to the next
  page. Follow the instructions until you reach the final page and click 'Submit'. Once you see
  the Formsite Thank you page please let me know so I can verify we received the updated
  information and I can schedule a follow up with an Account Manager"

  Click DISCREPANCY COMPLETED Disposition in Caller Ready

                                       Compliance Questions

  1. Do you understand we are not the government, nor the Department of Education, nor the
  servicer of your student loans?

  If No: We are a third-party document preparation services company who assists with the all of
 the necessary paperwork to ensure accuracy and correct filing of the documentation required
 for any necessary consolidation, recalculation and/or enrollment into your income driven
 repayment program. While we may correspond with your servicer on your behalf, we are not
  affiliated with the Department of Education.

  2. Do you understand that, for your protection, we will not access your Federal Student Aid
  account?

  If No: As a fully compliant document preparation services company, we must remain inside of
 the guidelines mandated by any governing agencies. As such we do not access your Federal
 Student Aid account.

  3. Do you understand that you may attempt to apply for an Income Based Program through
 the Department of Education on your own, but you are paying our company to handle all of
 the paperwork, notifications, and communications for your program?

 If No: Just as you have the ability to file your own taxes or use a professional tax preparer to
 maximize your return each year, you can also do this on your own. To ensure all of the work is
 done professionally and accurately, working with a professional document preparation services
 company will save you on all of the time, effort and research needed ensuring you are placed in
 the best program for both your short term and long-term benefit. Many people who enroll into




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  these programs fall out the program within the first 5 years so we are here to ensure you are
  enrolled into the right program the firsttime and remain inside of your program to meet all of
  the necessary requirements to have your loan balance discharged when your terms length is
  up.

  4. Do you understand that you have been/are seeking to be enrolled into the [REPAVE, PAYE,
  IBR, or ICR] Income Driven Repayment Program?

  If No: Each income driven repayment program has it's own set of guidelines and with each
 individual program comes it's own set of benefits. We make sure that you are enrolled into the
 right program based on your eligibility, adjusted gross income and filing status. The major
 benefit of each program is that they allow for a reduced monthly payment, and the discharge of
 your remaining loan balance at the end of your term length based on fulfillment of your
 scheduled qualified monthly payments.

 9. Do you understand that after our initial fee, separate from what you pay your servicer for
 your loan repayment, we charge an annual recertification fee of [$22/32/42] per month to
 assist you with your annual recertification due every 12 months?

  If No: The Department of Education requires that you recertify every twelve months to remain
 inside of your program. That means that every twelve months a new set of documents need to
 go out with proof of income and any changes to your family size. Your recertification fees
 ensure that we reach out to you when your recertification comes due and that you are
 recertified inside of your program accurately and on time for each year that you are with us.
 Many of our clients choose to remain with us until the end of their program knowing that they
 do not have to worry about misfiling or forgetting to file on time.

 10. Do you understand that your monthly recertification assistance fee to us will be placed
 into your own Dedicated Client Account held for your benefit until we successfully complete
 our work for you?

 If No: It is very important to us how your money is protected. You are making payments for our
 fees to your own Dedicated Client Account held by a non-related company (like a trust account)
 until your program is finalized and completed. That money belongs to you at all times and you
 can ask for it back prior to completion of our work. Once we receive your proof of income, we
 will complete all necessary correspondences and communications and document preparation
 services to get your program approved by the Department of Education. Your payments will be
 released to our company only after the Department of Education approves your program/
 plan. This protects you to make sure we are doing our job, you receive a positive result, and you
 are satisfied with our services

 11. Do you understand that you can request a return of the fees you paid to us that is held in
 your Dedicated Client Account at any time until we complete our work for you?




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 If No: To fully emphasize we do not take upfront fees. That means that until your program is
 approved any payments you are making are going into a separate trust account for you until
 you are placed in the program initially outline with the payment details initially discussed. This
 is for your comfort and security knowing that until we can complete the work necessary you
 have access to any funds transferred into your account.
  12. Are you fully satisfied with our services?
 If No: This just means that you are fully satisfied with the service outlined up until this point.
 Would you be fully satisfied knowing that until you are placed in the best program with the
 lowest or best monthly payment option, we are not going to collect on any funds transferred
 into your dedicated client account?
 13. IF YOU ARE PSLF ELIGIBLE, do you understand that your loan will not automatically be
 forgiven, bLJt that after the successful completion of your program, you will have to submit a
 PSLF Loan Forgiveness form to the Department of Education to complete your loan
 forgiveness?
 If No: You are already on your way to completing the required monthly payments to have your
 remaining loan balance discharged. If you are PSLF eligible you will be/have been turning in the
 Employment Certification Form to ensure there is a paper trail of your qualifying employment.
 This forgiveness form is just the last step. When the time comes to forgive your loans, we will
 help you to submit that final form and the rest is taken care of by Fedloan or the Department
 of Education.




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                                       II
                                  Rnanclal Preparation
                                                   Services
                                SALES COMPLIANCE MEMO

It is our company policy to adhere to all applicable federal, state, and local laws,
including regulations and formal guidance. This sales compliance memo outlines
and expands upon the compliance call script. All employees should fully understand
its contents and must follow its guidelines while performing his or her job duties and
responsibilities.
Company Representation

   •   FPS is NOT the government.
   •   FPS is NOT the Department of Education.
   •   FPS is NOT a loan servicer (FedLoan, Navient, Great Lakes, and etc).
   •   FPS is NOT a "Certified Enrollment Center''.
   •   Do NOT state that FPS has a partnership or relationship with the government,
       DepartmentofEducation,ora loan servicer.
   •   Do NOT state that FPS has any special or exclusive access to any programs, plans, or
       consolidations.
   •   Do NOT use any seals or logos in email communications that may appear to belong to
       official government agencies orthe Department of Education.
   •   Do NOT imply that FPS is the government, Department of Education, a loan
       servicer, "Certified Enrollment Center" or anything that FPS is not.

Program Availability

   •   Do NOT state that th eClient'seligibilitywillen data specific time (i.e. atth een d of the
       day/week).
   •   Do NOT state that any programs, plans, or consolidations will only be available for a
       specificperiod oftime (i.e. untiltheendoftheday/week).
   •   Do NOT state that the client must act now or lose the benefit of a program.
   •   Do NOT state that there is limited time to applyto a program.
   •   Do NOT imply that there is limited time or a short time or an end date to
       apply for a program.

Fee Explanation

   •   Initial Fee and recertification fees do NOT goto the loan servicer(s).
   •   Initial Fee and recertification fees are NOT applied to the balance of the loans.



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                                 Flnanclal Preparation
                                              Services
Accurate Information

   •   All Client information must be completed accurately and verified: name,
       address, telephon en umber,email address, date of birth, familysize,stated
       income,etc.
   •   Clientmustsign theClientFeeAgreementhimselforherself-NOEXCEPTIONS.

Proper Benefits

   •   Do NOT state thatthe Client's loans will be immediatelyorquicklyforgiven.
   •   Do NOT state that the Client's interestrate(s) will be reduced.
   •   Do NOT state that the Client's credit will be fixed.
   •   Do NOT state thatthe Client's credit score will improve or increase.
   •   Do NOT state that the Client has been accepted to any program.
   •   Do NOT state that it is guaranteed that the clientwill be accepted into any
       program.
   •   Do NOT state that the Client must use our services to obtain any benefit.


BY SIGNING BELOW, EMPLOYEE ACKNOWLEDGES THAT HE OR SHE HAS READ THIS SALES
COMPLIANCE MEMO AND AGREES TO AND UNDERSTANDS ITS CONTENTS.




By (print): _ _ _ _ _ _ _ _ _ _ _By (signature): _ _ _ _ _ _ _ _ _ __




Date: - - - - - - - - - - - -




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                                                                                        Memo
                                        Compliance Regarding DOE Statements

        By signing this memo, you understand that NO representative of SSP is EVER to
        implythatwe work with or are the Department of Education ora loan servicer.
        Perthe SSP Employee Handbook, we maintain a ZERO TOLERANCE POLICY for any
        fraudulentactivity;therefore, thefollowingstatementsmayneverbespokentoa
        client:
             1. "We work with the Department of Education orthe 0.0.E."
             2. "We work directly with the Department of Education orthe 0.0.E.
             3. "We work hand in hand with the Department of Education orthe 0.0.E.
             4. "We are partn'ers with the Department of Education orthe 0.0.E."
             5. "We are affiliated with the Department of Education orthe D.O.E."
             6. "We are the Department of Education or 0.0.E."
             7. "Weare your servicer"
             8. "We are Navient, Nelnet, Fed loans, or Great Lakes"
             9. "Weworkwith·Navient, Nelnet, Fedloans, or Great Lakes"
             10. "Weare affiliated with Navient, Nelnet, Fedloans, or Great Lakes"
             11. "We are a certified enrollment center"


        All calls are recorded and monitored for this fraudulent and unacceptable
        behavior at all times.
        Any SSP e1nployee who is caughtsaying any of the above (orvariant
        of the above) will be immediately terminated, without notice or
        discussion.
         Managers are required to thoroughly train and monitor that none of this
        verbiage is ever spoken to cli.ents. Please refer to upper management with any
        questions.




         By signing this form, you confirm that you have discussed this memo in detail with your
         supervisor and understand all terms in full.

                                                                                                                                    i
Employee Print
            ----·- -----------       ---------- ----- . ------------------- ·----------- --- --------- ·-----------------···- .. ---------1 ------------··(··---------------- --------------------- ------------ ' -- ----- -- --
Employee
  -
         Signature           i
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                                     NEW HIRE SCHEDULE

MONDAY

7:30am-Arrive- Begin working on New Hire Packet

8:30am-9:00am - HR will check status of Packets- Must be completed by 9:30 am

9:30am -11:30am - New Hire Orientation with HR

11:30am - 12:0iDpm - Lunch

12:00pm - 2:2.0pm - Welcome to the Student Loan Crisis Part 1- Nicole

2:20pm - 2:30pm - Break

2:30pm - 4:00pm - Welcome to the Student Loan Crisis. Part 2 - Nicole

4:00pm-Sign Out- End of Day 1



TUESDAY

8:00am - 8:30am - Arrive; Recap of Day 1

8:30am - 9:00am - Assignment #1 Program Details - Tara

9:00am -10:00am - Company Fees & Commission Training- Morgan

Introduction to Assignment #2 Overview (Filling out an Application-DPP)-13rian/Zcu::h

10:00 am -10:lO am Break

10:10am -11.:310.aim -Disburse to Training Rooms and Complete Assignment #2 - lh·irji,r11/Zach

11:30am - 1.7..:01Dpm - Lunch

12:00pm - 1:00pm - Assignment #3 FSA & NSLDS logins - Tara/Nicollette

1:00pm - 2:30pm Explaining Loan Details PowerPoint- Tara/Nic:ollette

2:30pm-2:40pm Break

2:40pm - 3:4lilplm - Assignment #4 Debts Tab -Tara/Nicollette

3:40pm - 4:30\pm - Parent Plus Loans PowerPoint- Monica/Brian

4:30pm - Sign Out - End of Day 2




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                                         NEW HIRE SCHEDULE

WEDI\H:~.iDJW

8:00 anil ·- 91:00 am - Recap of Day 2

9:00am ·-10:30.am -·Assignment# 5 Calculating the Numbers - Brian/Lindsay

10:30 .a1ra - 10:40 am -- Break

10:4lJ arn ... 11:30 am -- Compliance Questions and Verbal Consent Training- Malea

l.1:31[1, a1Yc ·- 12:00pm - Lunch

12:0C.prn - '.l:00 pm·- Family Size & Filing Status Training- Zach

1:00!Jim .... 2:20pm - Mock Phone Call Assignment with Partner - Alyssa/Morg.m

2:20pm ·- 2:30pm - Break

2:30pm ..- 3l:10pm - Mock Phone Call Assignment with Partner- Alyssa/Morgan

3:10pm ·- 3:30pm - Caller Ready, DNC Procedure, Cherry Picking- Malea

3:30pm ..~ 4:30pm - Shadow on the floor: Take notes

4:30 pr1n Sign out- End of Day 3



THURSi)AY

8:00am --11():00am -· Compliance Training Modules 1 & 2- Nicole

10:00arin - :JL0:10am - Break

10:lOar\n - 1L1:00am - Compliance Training Module 3 & Questions - Nicole

11:00artn -· :JL1:30 am- Lunch

11:30ar1n - :ll2:00 pm - Compliance Quiz

12:00 pirn --1:0oi,m ·- Shadow on the floor: Take notes

1:00pm ·- 2:15pm - Script Practice - Lindsay/Monica Split into 2 Groups

2:15 pm .... 2'.:25pm -- Break

2:25pm ·~· 3',:30prn - Flow Control and Expert Rebuttal List with Partner - Brian/Nicollette

4:30pm - Sign Out -- End of Day 4




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                               NEW HIRE SCHEDULE
 FRIDAY

 8:00 am - 8:30aim - Recap OPEN to ANY QUESTIONS

 8:30am -10:00 am - HelloSign PowerPoint- Lindsay/Alyssa

 10:00am - 10:110am - Break

 10:10am - 11.:0!0am -Client Retention PowerPoints - Morgan/Monica

 11:00 am - 11:3:0 - Lunch

 11:30 am - 1:00pm - Company Processes

 1:00pm - 2:15pm - Shadow on the floor: Take notes

 2:15 pm - 2:25pm - Break

 2:30 pm- 3:30pm - First Week Recap, Sales 101 Training in Conference Room- Zach

 3:30 pm Sign Out - End of Day 5




Week 2 or 3:

Wednesday: 2:=tOpm - 4:00pm - Friday Support Training, Proper Tagging, & Resells - !'lllaiea



Week 4:

Thursday: 12:,00pm - 1:00 pm - Total and Permanent Disability



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                  COMPANY NAME


          STUDENT SERVICES PLUS


                          WEBSITE


WWW.STU ENTSERVICESPLUS.C M



                  Toll Free#
          1-888-3 94-485 2
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REBUTIALS



Q: Why can't I just do this on my own?/ I've heard I could do this for free

A: You may attempt to do this for free through the DOE. However, our job is to save you a lot
of time, effort, and stress by doing all the work professionally and accurately, including
preparing and submitting all the paperwork prior to all deadlines. Our clients love our services
and if you have any doubts about our work, please rest assured that we keep your payment of
our fees in a Dedicated Client Account that is held for your benefit until we complete our work.
What that means is that you can request a refund if we haven't completed our work.

Does that make sense? Great, go ahead when you're ready with ...

Q: I don't want to wait 20 years to have this paid off/ or be stuck in a program'for 20 years

A: You can make adjustments to your program once a year. We are only here to save you the most
possible and present the most valuable program available.

Does that make sense? Great, go ahead when you're ready with ...

Q: This sounds too good to be true

A: This is a government program just like any other, similar to social security benefits or disability. Based
on your income, family size, and loan history the factors happen to be in your favor.

Does that make sense? Great, go ahead when you're ready with. ..

Q: What happens if I go back to school?/ Can I go back to school?

A: As long as you remain enrolled in your DOE program your loans will remain in good standing, and you
will be eligible to return to school and apply for additional loans. Any additional loans you take out in
the future may also qualify to be added to your forgiveness/repayment program.

Does that make sense? Great, go ahead when you're ready with. ..




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 REBUTTALS

 Q: Why do I have to give my social?

 A: Because it is required to locate your federal loans and we will need it for you application: All
 information input into the system is encrypted for your security.

 Go ahead when you're ready.
 Q: Is this legit?/ Who are you guys?

 Yes, we're a student loan assistance business that operates out of the State of California. My job as a
 representative working with student borrowers is to assist you with learning about the various
 government repayment options, finding the best one for you, gathering all the necessary
 documentation, and applying for the correct loan repayment program.

 Does that make sense? Great, go ahead when you're ready with. ..

 Q: How does this work?

 A: In order to qualify you for a DOE program we'll need to gather some basic information and review
 your loan details. These programs are based on your income, family size, loan amount and occupation.
 Based on these 4 factors you could qualify for a loan forgiveness/ repayment program where the Dept.
 of Education will basically take over as the lender on your loans and give you a lower monthly payment
 with the potential of loan forgiveness, where DOE may forgive a portion of your loans if you qualify .

. Does that make sense? Great, go ahead when you're ready with ...

 Q: What happens to my credit?

 We don't give advice on how to fix or improve credit.

 However, If Already Consolidated:- It will stay current in regard to your student loans as long as you
 make on:.time payments within your selected program. Does that make sense?

 NOT Consolidated -All existing loans through your current servicer will show as "paid in full through
 consoltdation" within 60-90 days. The total balance will then be consolidated into 2 loans with your new
 servicer. If you are in good standing it is unlikely that there will be any long-term effect.

 If Defaulted- It is likely that consolidation may have positive.effects as we are bringing past due
 accounts back into good standing.

 Does that make sense? Great, go ahead when you're ready with ...

 Q: Can I pay more each month and get done faster?

 A: These are TERM based programs and the forgiveness occurs at the END of the program, which is 240
 months (120 months). If you were to pay more than what is required, all you would be doing is eating
 away at the balance that gets forgiven at the end of the program. This is the type of program where you
 want to just make the required monthly payments, in order to receive the maximum amount of
 forgiveness at the end of the program.

 Does that make sense? Great, go ahead when you're ready with. ..


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Doc Assistants - Instructions
Send client link in DPP via sms: docsassistants.com

Instruct Client to RESET PASSWORD by clicking "FORGOT PASSWORD"

Have client input their EMAIL, DATE OF BIRTH and click 'SUBMIT', then click 'CONFIRM'

   -    An error message will appear if the Email and Date of Birth are not associated
        with an FSA account. "Your account couldn't be found using the username,
        email, or phone number and date of birth that you provided. Delete the
        responses you entered and try again." Click Ok

Have client input a SECONDARY EMAIL, DATE OF BIRTH and click SUBMIT.

        If the client's Email and Date of Birth are on file, client will then be instructed to
        RESET THEIR PASSWORD. To do this, the client will email a secure code to their
        email on file, input the 6-digit code, click SUBMIT and create a new password.
        Password must consist ofat least 1 uppercase, 1 lowercase a,nd a number
   -    Instruct the dient to then click on the DOC ASSISTANTS ICON, which will take
        them back to the log-in page.
        Have the client enter their EMAIL, NEWLY CREATED PASSWORD, YOUR BADGE#
        and click SUBMIT
   -    Check your outlook in box for loan details
        If the same error message appears, this means that the client's email is not in the
        system. The next step is to walk the caller thru CREATING AN FSA ID.


Instruct client to Create an FSA ID

   -    Click on CREATE NEW ACCOUNT
       · Enter username (first part of client's email address+ last two digits of their birth
        year)
   -    Create Password, confirm password, and select 4 challenge questions from drop
        down options.
       · Instruct client to leave email and mailing address blank, they are not required.
   -    Check box at bottom and click CREATE
   -    Tell client to collect 6-digit code sent as text - and enter in Docs Assistants
   -    Client Selects Return to Log-In Page - Enter Email, Password, and Badge#




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                     File Accuracy Checklist
        Always Check ALL 18 BEFORE You Submit File!


1. Loans are uploaded to DPP
2. Docs are Signed and read "E-Signature Completed"
3. Servicer Login U semame and password Included and Correct
4. Fedloans or AES, 3 security questions answers, Great Lakes: PIN
5. Family Size Calculation is Correct
6. Billing Information with Credit Card Saved
7. W/C is Completed
8. FS input during W/C matches file in DPP
9. NO MOHELA Loans
10. First Payment Date is within 14 days or less
11. 2nd Payment must be 45 or days less after 1st
12. LO (Loan Originated) MUST have LO Template included
13. PARENT PLUS LOANS SOLD ON ICR, box checked Yes
14. 2 DIRECT CONSOLIDATED are NOT in Default
15. PSLF or FEDLOANS FAMILY SIZE 6 OR LESS
16. No Active Bankruptcy
17. Phone Number, DOB, Social, Campaign Name Gust REF for
   Referrals) and Quoted Amount all Correct (Ex. 0 SL + 40 PP)




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                         Verbal Consent Training


 5. Do you authorize us to contact you with remind.ers in order for you to provide us with all
    of the necessary documentation for your annual recertification through email, phone
      call, or text message?
               I DON'T UNDERSTAND - In order to maintain the accuracy of your file and avoid.
               any delays in your likely approval we must establish good communication
               between our company and you. We must be able to reach you through email,
             call, or text OR whichever is most convenient for you ~ in order to keep your
             program on track and keep you updated throughout your program. OK?

 6. · Do you authorize usto submit your annual re!=ertification after your approval?
             I DON'T UNDERSTAND - Please remember, you must reapply for your program
             every year with the U.S. Department of Education. However, working with us, all
             this will be done for you. Our Processing Department will contact you to review,
             collect, and prepare all the paperwork necessary to keep you in the best
             program available. OK?




3-STRIKE TERMINATION POLICY FOR:
 A}          Skipping any of the 6 Verbal Consent Questions
OR
 B}       Modifying/Re-Wording any of the 6 Verbal
      Consent Questions




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                                   Verbal Consent Training

HOW TO PROPERLY OBTAIN VERBAL CONSENT:


  •!• You must get a verbal "YES" to all 6 questions below in order to proceed with Client's file.
  •!• If Client states "No", you must re-explain the question to the Client and obtain a "Yes"
  •!• If Client refuses to give a "YES" to any of the 6 questions, YOU MAY NOT PROCEED WITH
       FILE

  1.. Do you authorize us to gather and review all required documentation for your
       application?
              I DON'T UNDERSTAND -This consent is only to collect and fill out the rest of the
                      information for your file: mailing address, references and payment information -
                      just everything we need to complete the application, OK?


  2.   Do you authorize. usto use our mailing and email addresses on your application
       documents to receive communications on yourbehalffor the sole purpose of
         .-   -   .            .             "',                          -

       completing our services and to forward a copy of all such communications to your email
       address on file?
              I DON'T UNDERSTAND - In order to ensure the accurate and timely filing of all
                      paperwork for your program, we will handle all correspondence and
                      communication between you and your servicer. This will allow us to complete all
                      work required without any delays - and we will forward you a copy of all
                      correspondence received, OK?


[READ #3 BELOW ONLY IF "IN REPAYMENT" STATUS]

  3.   Do you authorize us to submit a forbearance request to your servicer after your
       approval, if you chose that option?
                      I DON'T UNDERSTAND - We recommend in order to help our clients with their
                      immediate cash flow needs and to pay our fee is to put your loans into forbearance. This
                      is something that allows you to temporarily stop making your federal student loan ·
                      payments or temporarily reduce the amount of payment you make - until your program
                      is approved and finalized, OK?


  4. Do you authorize us to submit your loan repayment or loan forgiveness application for
       the "PAYE, REPAVE, fBR, ICR" program after your approval?
              I DON'T UNDERSTAND - Once your application has been approved, your first
                      program fee has been placed into your trust account, and we have received your
                      proof of income - we will be submitting your application to the DOE for your
                      "PAYE, REPAVE, IBR, ICR" program. The submission of your application is of
                      course required for the DOE to begin processing your new program. OK?



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Company Fees
Enrollment Payment Break Down:

$1,705 x 1 payment (full-pop)= $1,605
$1,705 x 2 payments= $852.50 per month
$1,705 x 3 payments= $568.33 per month
$1,705 x 4 payments= $426.25 per month
$1,705 x 5 payments= $341.00 per month
$1,705 x 6 payments= $284.16 per month

$1,705 x 7 payments= $243.57 per month (Limited 1 per day)
$1,705 x 8 payments= $213.12per month (limited 1 per day)
Client Needs Loan Rehab Program (CANNOT ENROLL):

   1. Direct Consolidated & Defaulted
   2. Wage Garnishment



RECERTIFICATION

=Lo=-=an=-=-Am=o'""'u=nt'------------~R~cert Fee
$0 - $15,000                                      $41

$15,000 - $25,000                                 $41

$25,000 +                                         $41

Minimum Debt Loads:

$9,000 if Current

$5,000 if Defaulted
               Standard Repayment Plan = 1% of Debt, for 180 months = 15 years

            DOE FEDERAL STUDENT AID HELP HOTLINE: 1-800-433-3243




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Company Fees
Initial Fees:

$1,245x 5 payments= $249 per month

$1,245 x 6 payments= $207.50 per month (Limited 2x per day)

$1,395 x 5 payments = $279 per month
         '
$1,395 x 6 payments= $232.50 per month (Limited 2x per day)

$1,545 x 5 payments= $309 per month

$1,545 x 6 payments= $257 per month (Unlimited)

Client Needs Loan Rehab Program (CANNOT HELP):

   I . Direct Consolidated & Defaulted
   2. Wage Garnishment


RECERTIFICATION

Loan Amount                                 Recert Fee

$0.: $15,000                                      $22

$15,000 --$25,000                                 $32

$25,000 +                                         $42

Minimum Debt Loads:

$9,000 if Current

$5,000 if Defaulted



                Standard Repayment Plan = 1% of Debt, for 180 months= 15 years

                    DOE FEDERAL STUDENT AID HELP HOTLINE: 1-800-433-3243




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 From:           R     Yoder
 To:             Student Loan Mgmt
 Subject:        Payment amount
 Date:           Tuesday, October 15, 2019 4:51:44 PM


 I emailed and called several times today with no response. The payments that are being taken
 each month are not the payments I agreed to and not an amount I can manage. I need to hear
 back from someone asap and get this resolved.




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 From:           M       Plumley
 To:             Student Loan Mgmt
 Subject:        Questions about our contact.
 Date:           Sunday, October 13, 2019 7:54:00 AM


 If I'm paying $40/month, WHY has my student loan increased from $52k to $54k?
 Your noncommunication with me and my difficulty getting in touch with a human has caused
 me to lose confidence and TRUST in your company. I urge you to start communicating more
 effectively.

 Change my phone number to                   -4476
 Change my address to:                      , Annapolis MD 21403

 I need clarification for the following questions by Mon, Oct 14, 2919 by 5pm EST

 1. Instead of paying $52k to Nelnet, at the end of 240 payments, I will pay a total of
 $10,555 to Premier Student Loans? Will the balance be expunged from my financial
 obligation?




 2. Can I pay the $10,555 off sooner and is there a penalty for paying it off early?

 3. How does this debt forgiveness affect my credit rating?

 4. If my income situation improves, does it change the terms of this contract?


 Yours in service,
 M       Plumley
 Business cell:          -4476



 "One person driven with purpose, fueled with passion and defined by pride..."
 -Steve Gilliland


    ----- Forwarded Message -----
    From: "studentloanmgmt@trustedaccountservices.com"
    <studentloanmgmt@trustedaccountservices.com>
    To:                  @yahoo.com"                @yahoo.com>
    Sent: Sun, Oct 13, 2019 at 10:21 AM
    Subject: Your Payment Has Been Posted
    Dear M       ,

    We received your Automatic Payment of $40.00 for student loan management and
    dedicated client account services.

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    If you have any questions, please email us at
    studentloanmgmt@trustedaccountservices.com.

    Thank you for your payment!

    Please do not reply directly to this message.

    This information message has been sent to you based on your existing relationship with
    Trusted Account Services.

    If you are not the intended recipient or received this email in error, please call us at
    (888)-564-4336 and then delete this email from your system.

    Trusted Account Services

    18261 Alexandra Place

    North Tustin, CA 92705




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                                  #:4355

 From:          M       Reddick
 To:            Student Loan Mgmt
 Subject:       Re: Your Payment Has Been Posted
 Date:          Monday, October 14, 2019 1:47:36 PM


 I have spoken to Navinet - who hlds my student loan perNavinet they have nothing from you
 concerning my student loan and they are now delinquent. I need answer’s and I am stoping
 Payment.


  On Oct 14, 2019 at 10:15 AM, <Studentloanmgmt> wrote:

  Dear M       ,


  We received your Automatic Payment of $40.00 for student loan management and
  dedicated client account services.


  If you have any questions, please email us at
  studentloanmgmt@trustedaccountservices.com.


  Thank you for your payment!


  Please do not reply directly to this message.


  This information message has been sent to you based on your existing
  relationship with Trusted Account Services.


  If you are not the intended recipient or received this email in error, please
  call us at (888)-564-4336 and then delete this email from your system.


  Trusted Account Services


  18261 Alexandra Place


  North Tustin, CA 92705




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                                  #:4357

 From:           S        Hauschild
 To:             Student Loan Mgmt
 Subject:        Student loan
 Date:           Thursday, October 24, 2019 9:45:51 AM


 I am asking for a full refund of the money that I have paid you all. This is a scam and I want
 all of my money returned or I am prepared to legal action. My student loans are still showing
 up as unpaid on my credit report.

 Thank you,
 S       Hauschild




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                                  #:4358

 From:            Student Loan Mgmt
 To:              Sarah Tagatauli
 Subject:         Fw: Confusion
 Date:            Saturday, October 19, 2019 1:53:09 PM



 Please reach out to client.  


 From: Support <support@trustedaccountservices.com>
 Sent: Friday, October 18, 2019 11:36 AM
 To: Student Loan Mgmt <studentloanmgmt@trustedaccountservices.com>
 Subject: Fw: Confusion

 Hello Slam

 Please handle.

 TAS Customer Support.




 From: L           Harris          @gmail.com>
 Sent: Friday, October 18, 2019 10:37 AM
 To: Support <support@trustedaccountservices.com>
 Subject: Confusion

 If I am going through this organization for my student loans, and if you are charging me
 $42.00 per month, I have two questions that are confusing me?
 1. My loan amount has increased by $5,000 since I turned my information over to you.
 2. Fed Loan just sent me an email saying they are going to deduct $131 from my account each
 month starting November.

 Can someone please explain all of this to me, and why did my amount increase?




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                                  #:4359

 From:               C           Collins
 To:                 Student Loan Mgmt
 Subject:            Re: Your Payment Has Been Posted
 Date:               Friday, October 11, 2019 8:11:46 AM




 This is a scam. You’ve been reported. Stop contacting me.

 Sent from my iPhone

 > On Oct 11, 2019, at 10:06 AM, studentloanmgmt@trustedaccountservices.com wrote:
 >
 > Dear C          ,  
 >
 > We received your Automatic Payment of $20.00 for student loan management and dedicated client account
 services.  
 >
 > If you have any questions, please email us at studentloanmgmt@trustedaccountservices.com.  
 >
 > Thank you for your payment!  
 >
 > Please do not reply directly to this message.  
 >
 > This information message has been sent to you based on your existing relationship with Trusted Account
 Services.  
 >
 > If you are not the intended recipient or received this email in error, please call us at (888)-564-4336 and then
 delete this email from your system.  
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 > Trusted Account Services  
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 > 18261 Alexandra Place  
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 > North Tustin, CA 92705




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                                  #:4360

 From:            S
 To:              Student Loan Mgmt
 Subject:         Re: Your Payment Has Been Posted
 Date:            Monday, October 14, 2019 2:47:43 PM


 STOP TAKING THE AUTOMATIC PAYMENT IMMEDIATELY. I WANT A REFUND.

 The Department of Education called me - you are a fraud!

 I will be filing complaints anywhere I can on you!

 S          Newman.

 Get Outlook for Android


 From: studentloanmgmt@trustedaccountservices.com
 <studentloanmgmt@trustedaccountservices.com>
 Sent: Monday, October 14, 2019 9:17:04 AM
 To:              @hotmail.com               @hotmail.com>
 Subject: Your Payment Has Been Posted

 Dear S       ,

 We received your Automatic Payment of $40.00 for student loan management and dedicated client
 account services.

 If you have any questions, please email us at studentloanmgmt@trustedaccountservices.com.

 Thank you for your payment!

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 Account Services.

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 and then delete this email from your system.

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                                  #:4361

 From:           J      Crespo
 To:             Student Loan Mgmt
 Subject:        I am receiving a bill from fedloan.
 Date:           Sunday, October 20, 2019 5:16:12 PM


 I am just trying to figure out why I am still receiving bills from fedloan. They are saying I am
 behind and that i am not paying. I was told that I wouldn’t have to worry about them once I
 sign on with you guys. Can you please explain.

 Thank you
 J     Crespo




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                                  #:4362

 From:           L     Reimers
 To:             Student Loan Mgmt
 Subject:        Inquiry on payment
 Date:           Wednesday, October 16, 2019 11:16:04 AM


 Hello,

 This service was set up to help me with the payments at FEDLOAN SERVICING. I
 keep getting emails and phone calls saying my account is past due. Are the
 payments you're pulling from my account not being sent to the FEDLOAN
 SERVICING? What do I need to do to get this taken care of?

 I look forward to hearing from you and getting this resolved.

 Thanks you,

 L    Reimers

 Sterling, CO 80751
          -4633




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                                  #:4363

 From:             N     THERAPY
 To:               Student Loan Mgmt
 Subject:          Re: Your Payment Has Been Posted
 Date:             Monday, October 14, 2019 7:46:14 AM


 Hi!

 Who is this payment going to? I just logged into my FEdloan Servicing Account, and none of
 my $40 monthly payments are showed as posting to my actual student loans. I am wondering
 who I am paying?

 Thank you so much.

 Sincerely,
 L Tahir
         -4443




       Go to https://linktr.ee/                 and with one click you can access:

    1.   Therapy Sessions
    2.   Podcast
    3.   My Book
    4.   Join Email List
    5.   Glass Art
    6.   Non-Profit & US Patent
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         Receive a free audiobook download, and free month subscription from my Podcast
         sponsor, Audible at https://audibletrial.com/


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 If you are in crisis or having an emergency, please call 911 or go to your nearest hospital
 emergency room.

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 the individual(s) to which they are addressed. Any distribution, reading, copying, or use of
 this communication and any attachments by anyone other than the individual(s) they were
 addressed is strictly prohibited and may be unlawful. If you have received this email in error,
 please notify L Tahir,            at:                        or         -4443 and permanently
 destroy or delete the original message and any copies or printouts of this email and any
 attachments.


 On Mon, Oct 14, 2019 at 9:08 AM <studentloanmgmt@trustedaccountservices.com> wrote:


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   Dear L    ,

   We received your Automatic Payment of $40.00 for student loan management and dedicated
   client account services.

   If you have any questions, please email us at
   studentloanmgmt@trustedaccountservices.com.

   Thank you for your payment!

   Please do not reply directly to this message.

   This information message has been sent to you based on your existing relationship with
   Trusted Account Services.

   If you are not the intended recipient or received this email in error, please call us at
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                                  #:4365

 From:              j           davis
 To:                Student Loan Mgmt
 Subject:           Student loans
 Date:              Tuesday, October 15, 2019 12:05:09 PM




 I have a question. Why am I paying y’all money and fed loan servicing is reporting missed payments to the credit
 bureaus. It’s messing up my credit score and I really do not need that
 Sent from my iPhone




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                                  #:4366

 From:              L    Bloom
 To:                Student Loan Mgmt
 Subject:           Student loans
 Date:              Monday, October 21, 2019 5:57:16 PM




 Is Navient aware that I am paying my student loans through this company now?

 -L    Bloom




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